Case 8:20-cv-01737-SB-JDE   Document 1-2   Filed 09/11/20   Page 1 of 14 Page ID
                                     #:9




                       Exhibit B

                                                              EXH B, PAGE 9
          Electronically Filed by Superior Court of California, County of Orange, 08/07/2020 02:31:10 PM.
      Case   8:20-cv-01737-SB-JDE
30-2020-01154272-CU-WT-CJC                   Document
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              )AVID POON
        7

        8
                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
        9
                                               FOR THE COUNTY OF ORANGE
        10
                                                 CENTRAL JUSTICE CENTER
        11

        12       VID POON, an individual;                                  Case No.: 30 -2020 - 01154272-CU -VT-OJC
        13
                                                                           ASSIGNED FOR ALL PURPOSES TO:
        14                                                                         Jud.ge Sheila Fe11
                     Plaintiff,                                            PLAINTIFF'S COMPLAINT FOR
        15                                                                 DAMAGES
        16
                                                                           1.     DISABILITY DISCRIMINATION IP
        17
              vs.                                                                 VIOLATION OF FAIR
        18
                                                                                  EMPLOYMENT AND HOUSING
                                                                                  ACT ("FEHA"), CALIFORNIA
        19
                                                                                  GOVERNMENT CODE § 12940(a);

        20     ORK RISK SERVICES GROUP, INC.;                 2.                  DISABILITY DISCRIMINATION
               EDGWICK CLAIMS MANAGEMENT                                          IN VIOLATION OF FEHA-
        21                                                                        FAILURE TO ENGAGE IN THE
              SERVICES, INC.; and DOES 1 to 100, Inclusive; ;
        22
                                                                                  INTERACTIVE PROCESS,
                                                                       ~          CALIFORNIA GOVERNMENT
        23                                                             i          CODE § 12940(n);
                      Defendants.                                   I
        24                                                          1 3.          FAILURE TO ACCOMMODATE A
                                                                     I            DISABILITY IN VIOLATION OF
        25                                                             i          FEHA, CALIFORNIA
                                                                       I          GOVERNMENT CODE § 12940(m);
        26

        27                                                                  4.    WRONGFUL EMPLOYMENT
                                                                                  TERMINATION;
        28


                                                                   1

                                                 PLAINTIFF' S COMPLAINT                    EXH B, PAGE 10
Case 8:20-cv-01737-SB-JDE         Document 1-2       Filed 09/11/20      Page 3 of 14 Page ID
                                          #:11

                                                            5.   RETALIATION (Gov. Code
                                                                                    _. .. - - ---- ---
 1
                                                                 §12940(h));
 2
                                                            6.   INTENTIONAL INFLICTION OF
 3                                                               EMOTIONAL DISTRESS; and
 4

 5                                                               DEMAND FOR JURY TRIAL

 6

 7

 8          NOW COMES PLAINTIFF DAVID POON (hereinafter referred to as "PLAINTIFF") to
 9    11ege, and complain against Defendants, YORK RISK SERVICES GROUP, INC., SEDGWICK
10    ;LAIMS MANAGEMENT SERVICES, INC., and DOES 1 to 100, Inclusive, (hereinafter referred
 11   o as `DEFENDANTS') as follows:
 12                                                   I.
 13                                   JURISDICTION AND VENUE
 14         l.      Jurisdiction and venue are proper in this Court because some or all of the claims
 15     ;ged herein arose in Orange County and some or all of the parties were and/or are residents of
 16     inge County or are doing or did business in Orange County at all times relevant herein.
 17         2.      PLAINTIFF has met all of the jurisdictional requirements for proceeding with his
 18     ims under the Fair Employment and Housing Act ("FEHA"), codified at California Government
 19     de, Section 12960, et seq., by timely filing administrative complaints with the Department of Fair
 20     iployment and Housing ("DFEH") and receiving a Notice of Case Closure and a Right to Sue
 21     ;er ("Right To Sue Letter"). In addition, PLAINTIFF has complied with the Requirements of
 22     lifornia Government Code § 12962 by serving DEFENDANTS with his DFEH Charges and
 23     ;ht-to-Sue Letter.
 24                                                   II.
 25                                               PARTIES
 26

 27         3.      PLAINTIFF began his employment with DEFENDANTS on July 3, 2018, as a
 28         y Field Insurance Adjuster.

                                                      2

                                      PLAINTIFF'S COMPLAINT
                                                                          EXH B, PAGE 11
Case 8:20-cv-01737-SB-JDE               Document 1-2    Filed 09/11/20   Page 4 of 14 Page ID
                                                #:12

                                                              . ._..._      ..   .   _   - --   -- -     -
 1            4.       During the entirety of his employment with DEFENDANTS, PLAINTIFF fully and
 2     atisfactorily performed the duties of his employment.
 3    LNA1V1L1J 1J1.' rl.~ 1rlJA1V 1:

 4            5.       PLAINTIFF is informed and believes and thereon alleges that DEFENDANTS at all
 5    times mentioned in this complaint, are doing business in the State of California, operating and doing
 6     usiness in the city of Orange, County of Orange.

 7    IN.UL+. UL+t+L+;1yUAlr 1N:

 g            6.       The true names or capacities, whether individual, associate or otherwise, of Doe
 9    Defendants 1-100, inclusive, are unknown to PLAINTIFF and, therefore, PLAINTIFF sues these

 10   Doe Defendants by such fictitious names. PLAINTIFF will seek leave of this Court to amend this
11 Complaint to allege such names and capacities as soon as they are ascertained. PLAINTIFF is

 12   infonned and believes and thereon alleges that each of these fictitiously named Doe Defendants is

 13    esponsible in some manner for the occurrences alleged herein, and that PLAINTIFF'S injuries and

 14    amages as alleged and set forth herein were proximately caused by such fictitiously named Doe
 15 ueiencLanis.

 16     GENCY/CO-CONSPIRATOR STATUS OF EACH DEFENDANT:

 17           7.        Each of the individual Doe Defendants is sued individually and in his/her/its or
 lg    is/her/its capacity as an agent, representative, manager, supervisor, independent contractor and/or
 19   employee of DEFENDANTS, YORK RISK SERVICES GROUP, INC. and SEDGWICK CLAIMS
 20     ANAGEMENT SERVICES, INC.

 21            8.      PLAINTIFF is informed and believes and thereon alleges that at all times relevant
 22 erein, YORK RISK SERVICES GROUP, INC., SEDGWICK CLAIMS MANAGEMENT
 23 SERVICES, INC., including the Doe Defendants, acted in concert and in furtherance of each
 24     ther's interest. The acts of any Doe Defendants, as described herein, were known to and ratified
 25 y YORK RISK SERVICES GROUP, INC. and SEDGWICK CLAIMS MANAGEMENT

 26    3ERVICES, INC. The acts and conduct of any and all Defendants as described herein, were not a

 27     ormal part of PLAINTIFF'S employment and were not the result of a legitimate business
 28 necessity.

                                                          3



                                           PLAINTIFF' S COMPLAINT          EXH B, PAGE 12
Case 8:20-cv-01737-SB-JDE            Document 1-2         Filed 09/11/20   Page 5 of 14 Page ID
                                             #:13


                                                                       ---- -- ---   ------ . _. _.. .
                                             --   -----


 2                                        FACTUAL BACKGROUND
 3
              9.      PLAINTIFF was hired by YORK RISK SERVICES GROUP, INC. on July 3, 2018,
 4
 5      and later transferred to work with SEDGWICK CLAIMS MANAGEMENT SERVICES, INC. as a

 6      Property Field Insurance Adjuster. He was terminated from his employment on March 25, 2020,

 7      hortly after sustaining and reporting a work injury.
 8
              10.     On November 28, 2018, PLAINTIFF was involved in an automobile accident while
 9
         orking for SEDGWICK CLAIMS MANAGEMENT SERVICES, INC. This automobile collision
 10

11      in which PLAINTIFF was rear-ended, caused him to suffer a head contusion and injuries to his back

12        d neck.
 13
               11.    PLAINTIFF reported his work injuries the same day of the automobile collision to
 14 '
          anager, Robin Singer, from SEDGWICK CLAIMS MANAGEMENT SERVICES, INC. The
 15

 16     atter responded by indicating that PLAINTIFF'S injuries were work related and reported the

 17     hcident to the Workers' Compensation Department. PALINTIFF was asked to wait for a call from
 18
        ffiem. Nobody from the Workers' Compensation Department called him, the only call he received
 19
         as from the FMLA Department informing him that he did not qualify for it.
 20
               12.     On November 29, 2018, due to the pain PLAINTIFF was experiencing, he went to a
 21

 22      hiropractor for treatment, but unsuccessfully continued to request a call from the Workers'

 23     Compensation Department.
 24
               13.      In February of 2019, the Workers' Compensation Department finally called
 25
         LAINTIFF and he was able to open a claim. He was then sent to Concentra Occupational Med
 26
        rsCA
          -  for treatment and physical therapy. He received several notes from the doctors indicating
 27

 28        rk restrictions. The notes were given to Manager, Robin Singer.

                                                           4

                                         PLAINTIFF'S COMPLAINT
                                                                             EXH B, PAGE 13
Case 8:20-cv-01737-SB-JDE         Document 1-2       Filed 09/11/20      Page 6 of 14 Page ID
                                          #:14

           14. --- --- PLAIN-T-IFF-was accommodated until -DEFENDANTS received-a permarient          -   -
                                                                                                             I




 2     ability notice dated February 20, 2020, which indicates that his permanent disability rate is 7%.

 3     is report also indicates that PLAINITFF can work full duties, no restriction, but with only
 4
       itation of 6-hour shift.
 5
           15.     On March 25, 2020, Jim Silvester called PLAINTIFF and left him a message to call
 6
         . When PLAINTIFF called back, even though he was able to work full duties, he was told that
 7

 8                   were no longer able to accommodate him and that they had received the report

 9      rding his permanent disability. Tiffany Wells, Colleague Resources Business Partner, was also
 10
        of this telephone conversation. PLAINTIFF was upset and told them that his termination was
 11
        fair, that he had been doing his job. PLAINTIFF received a letter of termination from Tiffany
 12

 13
      ells dated March 25, 2020

 14         16.    The only work restriction PLAINTIFF had at the time of his termination was the 6-
 15
         shift. Prior to PLAINTIFF' S termination, he had agreed to work for 8 hours, DEFENDANTS
 16
             , stopped giving him work as if they were getting ready to terminate his employment.
 17
            17. PLAINTIFF asserts that he was wrongfully terminated because such termination was
 18

 19     to his disability and the required reasonable accommodations for said disability and in

 20      iation for filing a worker's compensation claim.
 21
                                                      IV
 22
                                           CAUSES OF ACTION
 23
                                       FIRST CAUSE OF ACTION
 24
           DISABILITY-DISCRIMINATION IN VIOLATION OF FEHA, CALIFORNIA
 25
                                    GOVERNMENT CODE §12940(a)
 26
            18.     The allegations set forth in Paragraphs 1 through 17 are re-alleged and incorporated
 27
           by reference.
 28
            19.     At all times herein mentioned, the Fair Employment and Housing Act ["FEHA"],
                                                       5

                                      PLAINTIFF'S COMPLAINT
                                                                          EXH B, PAGE 14
Case 8:20-cv-01737-SB-JDE                Document 1-2      Filed 09/11/20     Page 7 of 14 Page ID
                                                 #:15


 1         overnment Code §12940(a), was in full force and effect and binding on DEFENDANTS: These

 2        statutes required DEFENDANTS to refrain from discriminating and/or harassing against any
 3        mployee on the basis of a physical and/or mental disability. Within the time provided by law,
 4        PLAINTlFF filed his Complaint with the Department of Fair Employment and Housing ["DFEH"]
 5
      1
          in full compliance with the administrative requirements and received a right-to-sue letter. In
 6        ddition, PLAINTIFF in a timely manner also complied with the Requirements of California

 7         overnment Code § 12962 by serving DEFENDANTS with his DFEH Charges and Right-to-Sue
 g    g euer.
 9                20.       During PLAINTIFF' S employment, DEFENDANTS through their supervisors

10         nd/or agents, engaged in actions intentionally that resulted in PLAINTIFF being treated less

11        favorably because of his disability and the required accommodations. PLAINTIFF suffered from a

12        disability as defined by FEHA and was terminated shortly after DEFENDANTS received notice of I

13        his disability.

14                21.       PLAINTIFF believes and thereon alleges that his disability was a motivating and

15        substantial factor in DEFENDANTS' termination of his employment.

 16               22.       As a proximate result of DEFENDANS' willful, knowing and intentional
 17 discrimination of PLAINTIFF, PLAINTIFF has sustained and continues to sustain substantial

 18       losses in earnings and other employment benefits.

 19               23.       As a proximate result of DEFENDANTS' willful, knowing, and intentional
 20       discrimination of PLAINTIFF, PLAINTIFF has suffered and continues to suffer humiliation,

 21        motional distress, and mental and physical pain and anguish, all to his damage in a sum according

 22       Lo proof.

 23               24.       DEFENDANTS have committed the acts herein alleged maliciously and
 24        ppressively, with the wrongful intention of injuring PLAINTIFF, with an improper and intentional

 25       motive amounting to malice and in conscious disregard of PLAINTIFF'S rights. Accordingly,

 26       PLAINTIFF requests the assessment of punitive damages against DEFENDANTS in an amount
 27       appropriate to punish and make an example of them.
 28               25.       PLAINTIFF has incurred and continues to incur legal expenses and attorney fees and

                                                              6

                                             PLAINTIFF' S COMPLAINT
                                                                               EXH B, PAGE 15
Case 8:20-cv-01737-SB-JDE          Document 1-2       Filed 09/11/20      Page 8 of 14 Page ID
                                           #:16


 1    ~eeks reimbursement of his attorney's fees pursuant to California Government Code, § 12965(b).
 2

 3                                     SECOND CAUSE OF ACTION

 4    DISABILITY DISCRIMINATION IN VIOLATION OF FEHA, FAILURE TO ENGAGE IN

 5           INTERACTIVE PROCESS, CALIFORNIA GOVERNMENT CODE §12940(n)

 6           26.    The allegations set forth in Paragraphs 1 through 25 are re-alleged and incorporated

 7          by reference.
 g           27.    At all times herein mentioned, the FEHA, Government Code § 12940(n), was in ful
 9    force and effect and binding on DEFENDANTS. These statutes required DEFENDANTS to engag
10 in an interactive process in assessing an employee's physical and/or mental disability in order t,

11    provide a reasonable accommodation. The Government Code § 12940(n) makes it an unlawfu
12 employment practice for an employer to fail to engage in a timely, good faith, interactive proces

13     ith the employee to determine the effective reasonable accommodations, if any, in response to

14     equest for reasonable accommodation by an employee with a known physical condition.

 15          28.     Within the time provided by law, PLAINTIFF filed his Complaint with the DFEH in

 16   full compliance with the administrative requirements and received a right-to-sue letter.

 17          29. PLAINTIFF had a qualified disability which was known to DEFENDANTS.
 18 He alleges that despite any work restrictions, he could have performed the essential
 19   functions of his job. DEFENDANTS, however, never engaged in any interactive process.
 20 PLAINTIFF suffered from a disability as defined by FEHA and was terminated shortly after

 21   riotifying DEFENDANTS of his disability.

 22          30.     As a proximate result of DEFENDANTS' willful, knowing and intentional
 23 discrimination against PLAINTIFF, by failing to engage in an interactive process concerning his
 24   disability, PLAINTIFF has sustained and continues to sustain substantial losses in earnings and othei

 25   employment benefits.

 26          31.     As a proximate result of DEFENDANTS' willful, knowing, and intentional

 27    iscrimination against PLAINTIFF, by failing to engage in an interactive process concerning his
 28    isability, PLAINTIFF has suffered and continues to suffer humiliation, emotional distress, and

                                                        7


                                       PLAINTIFF'S COMPLAINT
                                                                            EXH B, PAGE 16
Case 8:20-cv-01737-SB-JDE           Document 1-2       Filed 09/11/20      Page 9 of 14 Page ID
                                            #:17


 1    hysical and mental pain and anguish, all to his damage in a sum according to proof.
 2            32.    DEFENDANTS have committed the acts herein alleged maliciously and
 3         essively, with the wrongful intention of injuring PLAINTIFF, with an improper and intentional

 4         ve amounting to malice and in conscious disregard of PLAINTIFF'S rights. Accordingly,

 5         INTIFF requests the assessment of punitive damages against DEFENDANTS in an amount

 6         opriate to punish and make an example of them.

 7            33.    PLAINTIFF has incurred and continues to incur legal expenses and attorney fees and

 8         s reimbursement of his attorney's fees pursuant to California Government Code, § 12965(b).

 9                                       THIRD CAUSE OF ACTION

 10          FAILURE TO ACCOMMODATE DISABILITY IN VIOLATION OF F.E.H.A.,

 11                                  GOVERNMENT CODE §12940(m)

 12           34.     The allegations set forth in Paragraphs 1 through 33 are re-alleged and incorporated

 13        in by reference.

 14           35.     At all times herein mentioned, the Fair Employment and Housing Act ["FEHA"],

 15        ernment Code §§ 12940(m), was in full force and effect and binding on DEFENDANTS. This

 16        [te affirmed DEFENDANTS' duty to make reasonable accommodations for the known physical

 17        or mental disabilities of PLAINTIFF. This statute fizrther required DEFENDANTS to engage
 lg       an interactive process to reach a reasonable accommodation for an employee's disability.

 19   r       36.     PLAINTIFF alleges that DEFENDANTS failed to reasonably accommodate his
 20   isabilities. PLAINTIFF fizrther alleges that DEFENDANTS failed to engage in an interactive

 21   irocess to reach a reasonable accommodation concerning PLAINTIFF'S disabilities. PLAINTIFF

 22   3elieves and thereon alleges that his request to DEFENDANTS for a reasonable accommodation
 23   conceming his physical condition, and the required treatment needed, were individually or in
 24   combination, motivating and substantial factors in DEFENDANTS' termination of his employment.

 25   Pven though accommodating PLAINTIFFS' work restrictions (6-hour work shift) would not have

 26   esulted in any performance issues by PLAINTIFF, or a hardship to DEFENDANTS,

 27   DEFENDANTS terminated his employment shortly after receiving notice of his disability.
 28            37.    As a proximate result of DEFENDANTS' willful, knowing and intentiona:


                                                         -
                                                         1
                                        PLAINTIFF'S COMPLAINT
                                                                             EXH B, PAGE 17
Case 8:20-cv-01737-SB-JDE         Document 1-2 Filed 09/11/20           Page 10 of 14 Page ID
                                           #:18


 1    discrimination against PLAINTIFF, as a result of DEFENDANTS' failure to reasonal
 2    accommodate PLAINTIFF'S disabilities and as a result of DEFENDANTS' failure to engage in
 3    interactive process to reach a reasonable accommodation concerning PLAINTIFF'S disabiliti

 4    PLAINTIFF has sustained and continues to sustain substantial losses in earnings and ot:

 5    employment benefits.
 6          38.        As a proximate result of DEFENDANTS' willful, knowing, and intentional
 7 discrimination against PLAINTIFF, as a result of DEFENDANTS' failure to reasonably
  g   accommodate PLAINTIFF'S disabilities and as a result of DEFENDANTS' failure to engage in an'
 9    nteractive process to reach a reasonable accommodation concerning PLAINTIFF'S disabilities,

 10    LAINTIFF has suffered and continues to suffer humiliation, emotional distress, and physical and

 11    ental pain and anguish, all to his damage in a sum according to proof.

 12          39.       DEFENDANTS' discrimination against PLAINTIFF because of his disabilities and

 13   because of PLAINTIFF'S request for reasonable accommodation was intentionally done in a

 14   malicious and oppressive manner, entitling PLAINTIFF to punitive damages. PLAINTIFF alleges

 15   that DEFENDANTS by terrninating him, and without providing him with reasonable

 16   accommodations concerning his disabilities, acted with intent to cause injury or that
 17     EFENDANTS' conduct was despicable and was done with a willful and knowing disregard of the
 lg   rights or safety of PLAINTIFF. PLAINTIFF fiirther alleges that DEFENDANTS by terminating
 19    im because of his disability, and the treatment of his disability, and because of his request for a
 20    easonable accommodation concerning his disabilities, acted with knowing disregard as they were

 21   aware of the probable consequences of their conduct and deliberately failed to avoid those

 22   1ponsequences.
 23          40.       PLAINTIFF further alleges that DEFENDANTS' termination of his employment
 24   because of his disabilities, the treatment of his disabilities and because of his request for a
 25   reasonable accommodation concerning his disabilities was despicable as DEFENDANTS' actions
 26   xere so vile, base, or contemptible that it would be looked down on and despised by reasonable

 27    eople. PLAINTIFF further alleges that DEFENDNATS by termination of his employment
 28   pecause of his disabilities, the treatment of his disabilities and because of PLAINTIFF'S request for


                                                       0
                                       PLAINTIFF'S COMPLAINT
                                                                           EXH B, PAGE 18
Case 8:20-cv-01737-SB-JDE           Document 1-2 Filed 09/11/20             Page 11 of 14 Page ID
                                             #:19


 1    easonable accommodation, DEFENDANTS subjected PLAINTIFF to cruel 'and unjust hardship in
 2    mowing disregard of PLAINTIFF'S rights. Accordingly, PLAINTIFF, requests the assessment of
 3    unitive damages against DEFENDANTS in an amount appropriate to punish and make an example
 4    of them.
 5           41.     PLAINTIFF has incurred and continues to incur legal expenses and attorney fees in a

 6       i according to proof.

 7                                     FOURTH CAUSE OF ACTION

 8         WRONGFUL EMPLOYMENT TERMINATION IN VIOLATION OF THE FAIR

 9       EMPLOYMENT AND HOUSING ACT, CALIFORNIA GOVERNMENT CODE §12940

 10          42.     PLAINTIFF hereby incorporates the allegations of paragraphs 1 through 41 above as

 11      zgh fully set forth herein.

 12          43.     On March 25, 2020, an employment relationship existed between PLAINTIFF and

 13   DEFENDANTS. On said date DEFENDANTS wrongfiilly terminated PLAINTIFF in violation of a

 14   fundamental public policy and the Fair Employment and Housing Act ("FEHA"), in that

 15   PLAINTIFF was terminated from his employment due to his disability.
 16          44.     Government Code § 12920 expressly deems violations thereof in direct
 17    ontradiction with the public policy of the state of California. It states that it is "declared as the
 18    ublic policy of this state that it is necessary to protect and safeguard the right and opportunity of all
 19    ersons to seek, obtain, and hold employment without discrimination or abridgment on account of
 20    ace, religious creed, color, national origin, ancestry, physical disability, mental disability, medical
 21   oondition, marital status, sex, age, or sexual orientation."
 22           45. Government Code § 12940(h) states, "It is an unlawful employment practice, unless
 23    ased upon a bona fide occupational qualification, or, except where based upon applicable security
 24    egulations established by the United States or the State of California: (h) For any employer, labor
 25    rganization, employment agency, or person to discharge, expel, or otherwise discriminate against
 26   any person because the person has opposed any practices forbidden under this part or because the
 27   person has filed a complaint, testified, or assisted in any proceeding under this part."
 28           46.     California Government Code § 12940 states, "It is an unlawful employment practice

                                                          10

                                         PLAINTIFF'S COMPLAINT
                                                                               EXH B, PAGE 19
Case 8:20-cv-01737-SB-JDE             Document 1-2 Filed 09/11/20           Page 12 of 14 Page ID
                                               #:20


 1__ _ or an employer, because of the race,.religious creed,--color, national origin, ancestry, physical
 2    disability, mental disability, medical condition, genetic information, marital status, sex, gender,
 3    gender identity, gender expression, age, or sexual orientation of any person, to discriminate against
 4    Lhe person in compensation or in terms, conditions, or privileges of employment."
 5             47. As a direct and proximate result of said wrongful termination, PLAINTIFF has
 6    ~ustained economic damages for past and prospective loss of earnings and benefits, according to
 7     roof.

 8             48. As a direct and proximate result of said wrongful termination, PLAINTIFF has
 9    sustained general damages for severe mental and emotional distress in sums prayed.
 10            49.     DEFENDANTS acted with malice and oppression toward PLAINTIFF and with a
 11    onscious disregard of PLAINTIFF' S rights and PLAINTIFF is accordingly entitled to punitive and
 12   exemplary damages against DEFENDANTS in sums sufficient to punish it and set an example in
 13    iew of their financial condition.
 14                                FIFTH CAUSE OF ACTION
                         RETALIATION IN VIOLATION OF GOV. CODE §12940(h)
 15
               50.     PLAINTIFF hereby re-alleges and incorporates by reference paragraphs 1 to 49
 16
       s if set forth in full.
 17
               51.     Government Code Section 12940(h) proscribes unlawful retaliation by employers
 18
       gainst employees based on the employee having protested what the employee reasonably believes
 19
       o be a violation of the law.
 20
               52.     By virtue of the conduct set forth above, DEFENDANTS violated said statute in that
 21
        substantial motivating factor for such adverse employment actions was to discriminate against
 22
        LAINTIFF based on his disability. He was terminated in retaliation for sustaining and reporting a
 23
       isability and for requesting a reasonable accommodation for his disability.
 24
               53.     As a direct and proximate result of the said retaliation PLAINTIFF sustained
 25
       conomic damages for past and prospective loss of earnings and benefits, according to proof.
 26
               54.     As a further and direct and proximate result of the said retaliation PLAINTIFF
 27
       ustained general damages for severe mental and emotional distress in sums prayed.
 28
               55.     DEFENDANTS acted with malice and oppression toward PLAINTIFF and with
                                                  11

                                           PLAINTIFF'S COMPLAINT
                                                                              EXH B, PAGE 20
Case 8:20-cv-01737-SB-JDE               Document 1-2 Filed 09/11/20          Page 13 of 14 Page ID
                                                 #:21


 1    conscious disregard of PLAINTIFF'S rights and PLAINTIFF is accordingly entitled to punitive
 2    damages in sums sufficient to punish said DEFENDANTS and set an example in view of its
 3    inancial condition.
 4              56.      PLAINTIFF is further entitled to an award of statutory attorney's fees for bringing
 5          action pursuant to Gov. Code Sec. 12965(b).
 6
                                      SIXTH CAUSE OF ACTION
 7                         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

 8
                57.       PLAINTIFF re-alleges and incorporates by reference paragraphs 1 through 56 of the

 9                    as though fully set forth herein.
                          As described above, DEFENDANTS and/or their agents/employees engaged in

 11   Jputrageous conduct towards PLAINTIFF which went outside the employment relationship, with the

 12   ~ntention to cause, or with reckless disregard for the probability of causing PLAINTIFF to suffer

 13       hysical and emotional distress. To the extent that said outrageous conduct was perpetrated by
 14       ertain employee of DEFENDANTS, and DEFENDANTS ratified said conduct with the knowledge

 15   that PLAINTIFF'S emotional and physical distress would thereby increase, and with a wanton and

 16   ~eckless disregard for the deleterious consequences to PLAINTIFF.

 17             59.       DEFENDANTS were aware and/or should have been aware of the likelihood that
 lg   PLAINTIFF would suffer severe emotional distress as a result of the above-described outrageous

 19       onduct. The outrageous and shocking conduct of DEFENDANTS was done intentionally and for
 20   Lhe purpose of inflicting upon PLAINTIFF extreme and severe emotional distress.

 21             60.       As a direct, foreseeable and legal result of DEFENDANTS' outrageous and unlawful

 22   acts, PLAINTIFF has suffered and will continue to suffer severe emotional distress including
 23   3ubstantial pain and suffering, extreme and severe mental anguish, anxiety, embarrassment,
 24       umiliation, and attendant physical injuries and conditions. PLAINTIFF is thereby entitled to

 25   general and compensatory damages in amounts to be proven at trial.

 26             61.       The DEFENDANTS committed the acts alleged herein maliciously, fraudulently and
           pressively with the wrongful intention of injuring the PLAINTIFF, and/or in reckless disregard of
 27
 28 rLAINTIFF'S rights or with a conscious disregard for PLAINTIFF'S rights and for the deleterious

      u                                                    12

                                             PLAINTIFF'S COMPLAINT
                                                                               EXH B, PAGE 21
Case 8:20-cv-01737-SB-JDE         Document 1-2 Filed 09/11/20            Page 14 of 14 Page ID
                                           #:22


 1    :onsequences of the DEFENDANTS' actions. DEFENDANTS committed, authorized, condoned

 2    ,nd ratified the unlawful conduct of all its agents/employees named in this amended complaint.

 3    'onsequently, PLAINTIFF is therefore entitled to recover punitive damages from DEFENDANTS
 4    n an amount according to proof.

 5
                                                       V.
 6
                                                   PRAYER
 7
            WHEREFORE, PLAINTIFF prays for judgment Against DEFENDANTS as follows:
 8
            1. All special damages, according to proof;
 9
            2. For economic damages according to proof;
 10
            3. For general damages in excess of $500,000;
 11
            4. For exemplary and punitive damages according to proof;
 12
            5. For attorneys' fees, interests, and costs;
 13
            6. Prejudgment interest at the prevailing legal rate; and
 14
             7.   For such other and further relief as the Court deems just and proper.
 15

 16
                                        DEMAND FOR JURY TRIAL
 17
             PLAINTIFF hereby demands trial of his claims by jury to the extent authorized by law.
 18

 19
              April 13, 2020                        LAW OFFICES OF MARIBEL ULLRICH, INC.
 20

 21
                                                      W4zZ,Xa a. a#A~
 22                                                Maribel B. Ullrich
                                                   Attorney for PLAINTIFF
 23                                                DAVID POON
 24

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                                        PLAINTIFF' S COMPLAINT
                                                                            EXH B, PAGE 22
